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     91 (Rev. 0Ml9) Criminal omplalnt


                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                  Southern Dlsttlct of Florida

                   United tates of America                       )
                                V.                               )
                                                                 )       Case No. 24-mj- 8441             RMM
                   RYAN WESLEY ROUTH,                            )
                                                                 )
                                                                 )
                           Dcfendtmt(s)


                                                   CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of               Se tember 15 2024             in the county of             Palm Beach           in the
      Southern         District of - - ~F~lo=n~·d=a~-- , the defendant(s) violated:
             Code Section                                                  Offense Description


 18 U.S.C. § 922(g)                           Possession of a firearm by a prohibited person - convicted felon

                                              Possession of a firearm with an obliterated serial number
 18 U.S.C. § 922(k)




          This criminal complaint is based on these facts:

 See attached affidavit in support of criminal complaint




          0 Continued on the attached sheet.


                                                                                           Complai11a111 's sig11at11re

                                                                                  Mark A. Thomas, Special Agent. FBI
 Sworn to and signed before me by                                                          Printed name and title
 Telephone (Facetime) per
 Fed. R. Crim. P. 4(d) & 4.1


 Date:             09/16/2024
                                                                                              Judges sig11at11re

 City and state:                West Palm Beach, Florida                         Ryon M. McCabe, U.S. Magistrate Judge
                                                                                          Printed name and /I/le
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      and destruction, in violation of Section 14-288,8 of the North Carolina General Statutes, a class

      "P felony. Class F folonies in North Cnl'olina are punishable by terms of up to 59 months'

      incarceration.

              11.      Law enforcement indices fmther reflected that, on or about March 3,2010, ROUTH

      was convicted of multiple counts of possession of stolen goods, in violation of Section 14-71.1 of

      the North Carolina General Statutes, a class "H" felony. Class H felonies in No1th Carolina are

      punishable by terms of imprisonment of up to 39 months' incarceration.

                                                 CONCLUSION

              12.      On the basis of the forego_ing, your affiant respectfully submits that probable cause

      exists to charge RYAN WESLEY ROUTH with possession of a firearm and ammunition by a

      convicted felon, in violation of Title 18, United States Code, Section 922(g)(l), and possession

      and receipt of a firearm with an obliterated serial number, in violation of Title 18, United States

      Code, Section 922(k).

             FURTHER YOUR AFFIANT SAYETH NAUGHT.



                                                             Mark A. Thomas
                                                             Special Agent
                                                             FBI


      Attested to me telephonically (via FaceTime) by the
      applicant in accordance with the requirements of
      Fed. R. Crim. P. 4.1 this _ _ day of September 2024.




      HON. RYON M. McCABE
      UNITED STATES MAGISTRATEruDGE
      SOUTHERN DISTRICT OF FLORIDA


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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                      PENALTY SHEET

                           CASE NO. 24-mj-8441-RMM

   Defendant's Name: RYAN WESLEY ROUTH


COUNT           VIOLATION                     U.S. CODE              MAX. PENALTY

        Possession of a Firearm by a          18 U.S.C. § 922(g)   15 years’ imprisonment
        Prohibited Person – Convicted Felon                        $250,000 fine
                                                                   3 years’ supervised release



        Possession of a Firearm with an       18 U.S.C. § 922(k)   5 years’ imprisonment
        Obliterated Serial Number                                  $250,000 fine
                                                                   3 years’ supervised release
